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      ""'AO 245B (CASD) (Rev. 1!12)   Judgment in a Criminal Case
                 Sheet I



                                                UNITED STATES DISTRICT COURT                                               ~6 [~n B: 15
                                                    SOUTHERN DISTRICT OF CALIFORNIA                                                                            ';,"
                      UNITED STATES OF AMERJCA                                        JUDGMENT IN A CRIMINAL CASE
                                          v.                                          (For Offenses Committed On or After November I, 1987) n[PUT Y

                           Eliseo Miranda-Duron -2                                    Case Number: 12-cr-03740-JAH-2

                                                                                      Kenneth Robert McMullan
                                                                                      Defendant's Attorney
     REGISTRATION NO. 24521298

     o
     THE DEFENDANT:
      ~ ~~d~pil~~oo~~~_F_o_ill_o_f_t_h_e_in_d_~_t_m_e_~_.~~~~~~~_~_ _~_ _~_ _ _~_~~~~~~
      o    was found guilty on count(s)'_ _ _ _~_ _ _ _ _ _ _ _ _~_~~_~_ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Acoordingly, the defendant is adjudged guilty of such oount(s), which involve the following otlen8e(s):
                                                                                                                                             Count
     Title & Section                           Nature of Offense                                                                            Number(s)
8: 1324(a)(I)(A)(iii)' &                Harboring Illegal Aliens                                                                            4
(v)(U); 8: 1324(b) &
18:982(a)(6)




         The defendant is sentenced as provided in pages 2 through                2          of this judgment. The sentence is imposed pursuant
  to the Sentencing Reform Act of 1984.
  o    The defendant has been found not guilty on count(s)
                                                              ---------------------------------------------
  ~ Count(S)....;;.,re_m_a_in_in.;.::g::....._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is D                arel8l dismissed on the motion of the United States.
  181 Assessment: $100.00 waived.


  I8l No fine                                         o     Forfeiture pursuant to order filed
                                                                                                   -------------              . , included herein.
        IT IS ORDERED that the defendant 8/1all notifY the United States Attorney for this district within 30 days of any change of name, residence,
  or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution, the
  defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                                                                           12-cr-03740-JAH-2
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AO 245B (CASD) (Rev. Ji12) Judgment in a Criminal Case
           Sheet 2   Imprisonment

                                                                                            Judgment -   Page __2~_ of       2
 DEFENDANT: Eliseo Miranda-Duron -2
 CASE NUMBER: 12-cr-03740-JAH-2
                                                          IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         Time served.



    o Sentence imposed pursuant to Title USC Section
                                                 8          1326(b).
    o The court makes the follo~ing recommendations to the Bureau of Prisons:

    o The defendant is remanded to the custody of the United States MarshaL
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.    Op.m.       on
               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before -----------------------------------------------------------------------
       o as notified by the United States Marshal.
       o as notified by the Probation or Pretrial Services Office.
                                                             RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment


                                                                                          UNITED STATES MARSHAL

                                                                   By ________________________________________
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                 12-cr-03740-JAH-2
